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League of the South in Pikeville, Kentucky                                                                                       SEARCH


                                                                                    by Michael Hill ,  April 30, 2017            search here                   Search



This group at right, plus a few other LS members and a few
                                                                                                                                 FEATURED
volunteers from the local Pikeville area–about 30 in all–stood
down some 200 Antifa at a distance of a mere ten yards for nearly
two hours. We were the advance guard whose job was to hold the                                                                Understanding the events of today in a historical
line until the main force arrived. Our operation was led by                                                                   perspective:
Kentucky LS Chairman Spencer Borum and Kentucky Southern
                                                                                                                              The New Red Terror, Part I
Defense Force (SDF) Commander Ike Baker.

                                                                                                                              The New Red Terror, Part II
All the while, the cowardly Antifa had every chance to cross the
barricades with a huge numerical advantage and actually do to us
what they stood there threatening to do–destroy us. There was no way the cops could have prevented a sizable
                                                                                                                                 RECENT COMMENTS
number of them from reaching us and closing quarters.

But the Antifa–unmasked and un-hoodied–stood there, casting at us nothing more than juvenile curses and vulgar
                                                                                                                              Michael Greek on The Cultural Vanguard Strategy
gestures. What cowards!
                                                                                                                              Michael Greek on A statement to concerned
I am proud of our group of indomitable LS members who stood alone on the front lines in Pikeville until                       Southerners
reinforcements arrived. We were rst to arrive and last to leave. Hail to you and hail victory! With the blessing of           OrthodoxConfederate on Southern Baptists
the Lord of hosts, we shall prevail over these godless destroyers of civilization.                                            condemn Alt-Right and nationalism

Michael Hill                                                                                                                  OrthodoxConfederate on A Band of Brothers

                                                                                                                              mtnforge on Max Boot’s “Brotherhood of Man”
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 CATEGORIES:      ACTIVISM                                         TAGS: ANTIFA, KENTUCKY, LEAGUE OF THE SOUTH,             accessories for all members may now be purchased
                                                                                                                              at Southern Nationalist Shirts & Patches.
                                                                   PIKEVILLE, SOUTHERN DEFENSE FORCE


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                     Michael Hill
                     Dr Michael Hill is President of the League of the South. He is a retired university professor of
                                                                                                                                 CATEGORIES
                     history and author of two books on Celtic warfare.


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